Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 1 of 41 PageID #: 410




     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORI{
     UNITED STATES OF AMERICA,
                                                             MEMORANDUM & ORDER
                                                                    23-CR-86 (NGG)
                    -against-
     ROBERT HOMER,
                                 Defendant.


           NICHOLAS G. GARAUFIS, United States District Judge.
           Pending before the court is the Government's motion for recon-
           sideration of this court's Februa1y 5, 2024 Memorandum and
           Order ("M&O" or "Order") granting Defendant Robert Homer's
           motion to suppress evidence. (See Mot. for Reconsideration
           ("Mot. for Recons.") (Dkt. 60); see also M&O (Dkt. 53) .) For the
           reasons discussed below, the motion is GRANTED in part and
           DENIED in part.

           I.   BACKGROUND

           On February 14, 2023, Mr. Homer was arrested and subse-
           quently charged with illegal possession of a firearm as a felon, in
           violation of 18 U.S.C § 922(g)(l). 1 On July 11, 2023, Mr. Homer
           moved to suppress "all physical evidence recovered from Mr.
           Homer" on the night of his arrest, including the firearm and "am-
           munition and all evidence recovered as a fruit of his unlawful
           arrest." (Mot. to Suppress (Dkt. 23) at 1.) Mr. Homer moved to
           suppress the fruits of the unlawful arrest on the basis that pos-
           session of a firea1m "is not sufficient to establish probable cause
           to believe that Mr. Homer committed a crime." (Id. at 7 (citing


           1 The court assumes familiarity with the factual background of Mr.

           Homer's arrest, which is set forth in greater detail in the M&O. (See M&O
           at 1-2.) See also United States v. Homer, No. 23-CR-00086 (NGG), 2024 WL
           417103, at •:.-1 (E.D.N.Y. Feb. 5, 2024).




                                              1
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 2 of 41 PageID #: 411




           United States v. Gaskin, 2023 WL 3998329, at *7 (D. Conn. June
           14, 2023) and New York State Rifle & Pistol Ass'n, Inc. v. Bruen,
           597 U.S. 1, 10 (2022).) In the alternative, Mr. Homer sought an
           evidentia1y hearing "be held outside the presence of the jmy be-
           fore trial as to the admissibility of the physical evidence." (Mot.
           to Suppress at 1.) In opposition, the Government argued that the
           detective's observation of Mr. Homer with a firearm was suffi-
           cient to establish probable cause that Homer was in violation of
           New York statutes that criminalize possession of a weapon.
           (Gov't Opp. to Mot. to Suppress (Dkt. 29) at ECF 7 (citing New
           York Penal Law§§ 265.01, 265.01-b, 265.02, and 265.03).) The
           Government did not otherwise address the argument raised by
           the defense concerning how the change in New York's licensing
           laws after Bruen could have affected the probable cause analysis.
           Because of the issues raised about the reach of the Fourth
           Amendment after Bruen, the comt granted Mr. Homer's motion
           for an evidentia1y hearing. (See Min. Entry dated 9/18/2023.)
           At the hearing, the Government stated multiple times that the
           hearing was not necessary. (See Suppression Hearing Transcript
           ("Hearing Tr.") (Dkt. 57) at 4:9-10 ("[T]he government's posi-
           tion is that a hearing is not necessary because there is no fact in
           dispute."); id. at 10: 13-14 ("I have made clear that a hearing is
           not necessary because there is no fact in dispute.").) The Govern-
           ment then called one witness, New York Police Department
           ("NYPD") Detective Nicholas Conte, who witnessed Mr. Homer's
           possession of a handgun via live surveillance video. (See id. at
           4:15-16.) The Government did not present any other evidence to
           the court beyond Detective Conte's testimony. (See id.) 2
           In post-hearing briefing, Mr. Homer again argued that suppres-
           sion was warranted because the "police had no information as to
           whether the man had a prior felony conviction or did or did not

           2 The Government did not call NYPD Officer Anthony Lombardi, who par-
           ticipated in Homer's arrest and was available for the hearing. (See id.)




                                                2
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 3 of 41 PageID #: 412




           have a permit for the gun." (Def. Post-hearing Mem. (Dkt. 44) at
           ECF 7.) The Government in its post-hearing briefing engaged for
           the first time with Mr. Homer's argument that the Government
           did not have probable cause after Bruen, but only to say that
           "Bruen has nothing to do with a probable cause determination"
           because licenses are an affirmative defense that defendants can
           raise. (Gov't Post-hearing Opp. (Dkt. 46) at 9-10.) The Govern-
           ment also found it notable that "at the hearing, despite having an
           opportunity to not only ask Detective Conte questions about li-
           censing, but to also call Officer Lombardi, the defense curiously
           did not ask a single question about it or how Bruen has modified,
           if at all, any NYPD practices for determining probable cause to
           make an arrest." (Id. at 9.)
            On February 5, 2024, the court granted Mr. Homer's motion to
           suppress. (See M&O at 15.) After this court granted the Govern-
           ment's request for an extension of time to file, the Government
           filed the present motion for reconsideration on March 1, 2024,
           urging the court to "reconsider its decision so that it may evaluate
           certain overlooked material facts and controlling law, as well as
           to correct clear errors of law." (Mot. for Recons. at 1.) Specifi-
           cally, the Government moves for reconsideration on twelve
           grounds, arguing that the court made six legal errors and did not
           consider six material facts that, if considered, would change the
           outcome of the court's decision. In the alternative, the Govern-
           ment seeks an evidentiary hearing to present evidence regarding
           firearm licenses in New York City. (Id.)

           II. LEGAL STANDARD

           "The standard for granting ... a motion [for reconsideration] is
           strict, and reconsideration will generally be denied unless the
           moving party can point to controlling decisions or data that the
           court overlooked." Shraderv. CSXTransp., Inc., 70 F.3d 255,257




                                            3
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 4 of 41 PageID #: 413




           (2d Cir. 1995) ;3 see also In re Initial Pub. Offering Sec. Litig., 399
           F. Supp. 2d 298, 300 (S.D.N.Y. 2005) ("Reconsideration is an
           extraordinary remedy to be employed sparingly in the interests
           of finality and conservation of scarce judicial resources."). ''The
           major grounds justifying reconsideration are an intervening
           change of controlling law, the availability of new evidence, or the
           need to correct a clear error or prevent manifest injustice." Virgin
           Atl. Airways, Ltd. v. Nat'lMediation Bd., 956 F.2d 1245, 1255 (2d
           Cir. 1992).
           "[A] motion for reconsideration is not an opportunity for litigants
           to reargue their previous positions or present new or alternative
           theories that they failed to set forth in connection with the un-
           derlying motion." Cmpac v. Rubin & Rothman, LLC, 10 F. Supp.
           3d 349, 351 (E.D.N.Y. 2013). Factual matters must have been
           put before the court on the underlying motion for a court to grant
           reconsideration. Drapkin v. Mafco Consol. Grp., Inc., 818 F. Supp.
           2d 678, 695 (S.D.N.Y. 2011); see also Davidson v. Scully, 172 F.
           Supp. 2d 458, 463 (S.D.N.Y. 2001) ("It is well established that
           the submission of new evidence is precluded on a motion for re-
           consideration.").

           III. DISCUSSION
           The crux of the matter is that the Government did not meet its
           burden to demonstrate probable cause when faced with a motion
           to suppress evidence gathered from Mr. Homer's warrantless ar-
           rest. The court thus first reviews the burden shifting framework
           under Second Circuit law before addressing each of the Govern-
           ment's arguments raised in its motion for reconsideration.




           3When quoting cases, unless otherwise noted, all citations and internal
           quotation marks are omitted, and all alterations are adopted.




                                             4
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 5 of 41 PageID #: 414




               A. The Burden on the Underlying Motion to Suppress
           The defendant ''bears the initial burden of establishing that a gov-
           ernment official acting without a warrant subjected him to a
           search or seizure.n United States v. Herron, 18 F. Supp. 3d 214,
           221 (E.D.N.Y. 2014) (citing United States v. Arboleda, 633 F.2d
           985, 989 (2d Cir. 1980)). Once established, the burden shifts to
           the government "to demonstrate that its agents had probable
           cause to justify a warrantless search." (M&O at 3 (citing United
           States v. Delossantos, 536 F.3d 155, 158 (2d Cir. 2008)).) The
           government "must make this showing by a preponderance of the
           evidence." United States v. Goines, 604 F. Supp. 2d 533, 539
           (E.D.N.Y. 2009). In this case, there is no dispute that Mr. Homer
           was arrested without a warrant. The burden was therefore on the
           Government to establish that there was sufficient probable cause
           to arrest Mr. Homer.
           The Government states that it presented evidence it believed was
           "sufficient to demonstrate probable cause as understood in the
           Second Circuit for many years." (Mot. for Recons. at 4.) Relying
           on the testimony of Detective Conte, the Government showed
           that Detective Conte saw Mr. Homer in the driver's seat of a silver
           minivan that Detective Conte believed, based on his experience
           investigating a local gang, to be affiliated with said gang. While
           in the car, Mr. Homer had "no firearm discipline" and placed the
           gun directly in his pocket. (Gov't Post-hearing Opp. at 4.) Detec-
           tive Conte then called Officer Lombardi, an officer on duty, to
           arrest Mr. Homer and seize the firearm. All of this occurred after
           2 a.m. in a high crime area. The Government justified its lack of
           attention to Bruen and New York's newfound status as a "shall
           issue" state because "the exemption of a licensed person from
           prosecution is an affirmative defense to be advanced by the de-
           fendant," so any change to licensing pursuant to Bruen did not
           "affect the probable cause calculus in this case whatsoever." (Id.
           at 10.)




                                            5
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 6 of 41 PageID #: 415




           Implicit in the Government's arguments on reconsideration is
           that the court's M&O granting suppression caught the Govern-
           ment by surprise-the Government did not present evidence to
           the court about Bruen's impact on the probable cause inquiry be-
           cause it determined that it did not need to based on the structure
           of New York State's gun laws. The Government argues it should
           therefore be granted the opportunity to present evidence now
           because it could not have foreseen the "new rule" created by the
           court's decision. 4 Not so. In its post-hearing briefing, the Govern-
           ment identified the new licensing regime, but argued that Bruen
           did not affect the probable cause calculus in this case. (See Gov't
           Post-hearing Opp. at 9-10.) But the Government erred and incor-
           rectly believed that it was Mr. Homer's burden to raise facts that
           demonstrate that nothing in the probable cause analysis changed
           after Bruen. (See id. ("[D]espite having an opportunity to not only
           ask Detective Conte questions about licensing, but to also call Of-
           ficer Lombardi, the defense curiously did not ask a single
           question about it or how Bruen has modified, if at all, any NYPD
           practices for determining probable cause to make an arrest").)
           And while the Government notes surprise by what it refers to as
           the court's "new rule," the reasoning in the court's M&O was by
           no means novel. It accords with the district court for the District
           of Connecticut's analysis in United States v. Gaskin, which Mr.
           Homer cited in his suppression motion and his post-hearing brief-
           ing. (See Mot. to Suppress at 7 (citing United States v. Gaskin, No.
           22-CR-98, 2023 WL 3998329, at *6 (D. Conn. June 14, 2023));



           4 In its motion for reconsideration, the Government refers to the M&O as

           the "February 5th New Rule." Inadvisable legal writing aside, cf Antonin
           Scalia & Bryan Gamer, Making Your Case: The Art of Persuading Judges
           (2008) at 33-34 (counseling practitioners to assume a posture of respectful
           intellectual equality with the bench), it is incorrect that this court created
           a new rule. This court applied the law to the facts presented in order to
           resolve a dispute in the particular case before it.




                                                 6
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 7 of 41 PageID #: 416




           Def. Post-hearing Mem. at ECF 6-7 (same).) In Gaskin, the de-
           fendant was arrested for unlawful possession of a firearm in
           violation of a Connecticut statute that prohibits possession of fire-
           arms in vehicles without a license. Gaskin, 2023 WL 3998329, at
           *6 & n.12. The Gaskin court, relying on Bruen, ruled that there
           was not probable cause to arrest. Id. at 17. The court stated that,
           for the defendant's arrest to be lawful, "there needed to have
           been some evidence indicating the probability that [the defend-
           ant] was not licensed to possess a firearm. Absent such
           information, there could not have been probable cause to arrest
           [the defendant]." Id. at ''6; see also id. at *7.
           And long before Mr. Homer moved for suppression, state courts
           and sister circuits that cover "shall issue"5 states grappled with
           the boundaries of the Fourth Amendment with respect to search-
           ing individuals with guns. 6 The Supreme Judicial Court of

           5 In Bruen, the Court defined "shall issue" states as those in which "author-
           ities must issue concealed-carry licenses whenever applicants satisfy
           certain threshold requirements, without granting licensing officials discre-
           tion to deny licenses based on a perceived lack of need or suitability."
           Bn1en, 597 U.S. at 13. By contrast, New York was one of seven jurisdictions
           with "may issue" licensing laws in which "authorities have discretion to
           deny concealed-carry licenses even when the applicant satisfies the statu-
           tory criteria, usually because the applicant has not demonstrated cause or
           suitability for the relevant license." Id. at 14-15. In Bruen, the court struck
           New York's "proper cause" requirement, see id. at 71, converting New York
           from a "may issue" jurisdiction to a "shall issue" jurisdiction.
           6 See, e.g., United States v. Lewis, 672 F.3d 232, 240 (3d Cir. 2012) (Virgin

           Islands) ("It is lawful for certain individuals in the Virgin Islands to carry a
           firearm provided that a license is obtained .... [This Circuit] recognized
           that the possession of a firearm in the Virgin Islands, in and of itself, does
           not provide officers with reasonable suspicion to conduct a Teny stop.");
           United States v. Blade, 707 F.3d 531, 540 (4th Cir. 2013) (North Carolina)
           (''[W]here a state permits individuals to openly carry firearms, the exercise
           of this right, without more, cannot justify an investigatory detention. Per-
           mitting such a justification would eviscerate Fourth Amendment
           protections for lawfully armed individuals in those states."); Northrup v.




                                                  7
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 8 of 41 PageID #: 417




           Massachusetts's reasoning in Commonwealth v. Guardado, 206
           N.E.3d 512 (Mass. 2023) is particularly informative. Massachu-
           setts was one of the seven jurisdictions that was a "may issue"
           state prior to Bruen. Bruen, 597 U.S. at 15; Guardado, 206 N.E.3d
           at 522. As in New York, a license was an affirmative defense to
           prosecution rather than an element under Massachusetts law.
           Guardado, 206 N.E.3d at 522. After Bruen, Massachusetts's high-
           est court ruled in Guardado that a defendant could not be forced
           to bear the burden of establishing that he or she had a license;


           CityofToledoPoliceDep't, 785 F.3d 1128, 1131-33 (6th Cir. 2015) (Ohio)
           (''To allow stops in [an open cany state] ''would effectively eliminate
           Fourth Amendment protections for lawfully armed persons."); United
           States v. Williams, 731 F.3d 678, 694 (7th Cir. 2013) (Hamilton, J., con-
           curring) (Wisconsin) ("After Heller and McDonald, all of us involved in law
           enforcement, including judges, prosecutors, defense attorneys, and police
           officers, will need to reevaluate our thinking about these Fourth Amend-
           ment issues and how private possession of firearms figures into our
           thinking."); Duffie v. City of Lincoln, 834 F.3d 877, 883 (8th Cir. 2016)
           (Nebraska) ("[T]he mere report of a person with a handgun is insufficient
           to create reasonable suspicion."); United States v. Brown, 925 F.3d 1150,
           1154 (9th Cir. 2019) (Washington) ("In Washington State, it is presump-
           tively lawful to carry a gun. It is true that carrying a concealed pistol
           without a license is a misdemeanor offense in Washington .... Notably,
           Washington is a 'shall issue state,' meaning that local law enforcement
           must issue a concealed weapons license if the applicant meets certain qual-
           ifications.") (emphasis in original); United States v. Turner, 827 F. App'x
           996, 997-98 (11th Cir. 2020) (Florida) (''When [the detective] saw a gun
           in plain view in the front passenger's waistband, the detective had reason-
           able suspicion to remove the passenger from the car to determine whether
           he possessed a valid permit to carry a concealed weapon."); United States
           v. Blackman, No. 18-CR-00728, 2023 WL 3346822, at *17 (N.D. Ill. May
           10, 2023) (Illinois) ("Upon opening the box, the officers found 173 rounds
           of ammunition. This, in tum, constituted probable cause to arrest [the de-
           fendant] based upon his possession of the box and his admission that he
           did not have a [Firearm Owner's Identification] card."); Commonwealth v.
           Hicks, 208 A.3d 916, 936 (Pa. 2019) (Pennsylvania) ("[A] police officer
           may [not] infer criminal activity merely from an individual's possession of
           a concealed firearm in public.... [I]t is not a criminal offense for a license
           holder ... to car1y a concealed firearm in public.").




                                                 8
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 9 of 41 PageID #: 418




           instead, given the holding in Bruen that "possession of a firearm
           outside the home is constitutionally protected conduct," failure
           to obtain a license is a necessary element of the crime of unlawful
           possession of a firearm. Id. at 538-39.
           The decisions from the Third, Fourth, Sixth, Seventh, Ninth, and
           Eleventh Circuits, from the District of Connecticut and the North-
           ern District of Illinois, and from Pennsylvania and Massachusetts
           state courts deal with different state statutory regimes and differ-
           ent procedural postures, and do not dictate the outcome in this
           case. See supra note 6. But they all indicate that Bruen, which
           forced New York to dramatically change its firearm licensing reg-
           ulatory regime and become a "shall issue" state, had the potential
           to fundamentally alter how state governments enforce their gun
           laws. Even though New York used to require applicants to show
           "proper cause" to receive a firearm license, its licensing regime
           now more closely mirrors that of "shall issue" states. The Govern-
           ment was free to rely solely on its argument that, even after Bruen
           and the subsequent changes to New York's firearm licensing
           laws, a license was an affirmative defense and so licensure was
           not relevant for the probable cause inquiry. But as the party with
           the burden of justifying a warrantless arrest, it did so at its own
           risk.
           The court now turns to the Government's objections on reconsid-
           eration to the court's Order. The Government argues that the
           court made six clear legal errors and that it did not consider six
           facts that would change the outcome of the case. The Govern-
           ment's objections are each addressed below.
               B. Legal Arguments
           The Government seeks reconsideration on the grounds that the
           court misapplied Second Circuit precedent concerning probable
           cause, deference to state court interpretations of state law, inno-
           cent explanations, Teny stops, the plain view doctrine, and




                                            9
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 10 of 41 PageID #: 419




           identity suppression. The Government does not point to control-
           ling Second Circuit precedent that would dictate a different
           outcome on any of these grounds. However, the court does agree
           that its discussion of the plain view doctrine and identity suppres-
           sion were unclear and clarifies its holding with respect to those
           issues as detailed below.
                    1.   Probable cause
           The Government contends that the court committed clear error
           in its treatment of two cases that show that probable cause ex-
           isted to arrest Mr. Homer. (Mot. for Recons. at9-10 (citing United
           States v. Vasquez, 864 F. Supp. 2d 221 (E.D.N.Y. 2012) and
           United States v. Hagood, 78 F.4th 570 (2d Cir. 2023)).) The
           events in both cases predate Bruen and neither case supports the
           Government's argument on reconsideration.
           Vasquez is a district court case decided before Bruen in which the
           court found probable cause to arrest based on criminal posses-
           sion of a weapon under New York's prior gun laws when the
           defendant was observed with a handgun. Vasquez, 864 F. Supp.
           at 239. In analyzing Vazquez, the court stated that the suspect in
           the case notified police he was on parole during the arrest rather
           than, as the Government correctly notes, after he was under ar-
           rest. (Compare id. at 223, with M&O at 6-7.) However, a district
           court case is not controlling such that reconsideration is appro-
           priate. See Ades v. Deloitte & Touche, 843 F. Supp. 888, 892
           (S.D.N.Y. 1994). And after reviewing Vasquez, it does not provide
           cause to reconsider the M&O.
           Hagood is a Second Circuit case that involves an arrest made in
           2020-two years before Bruen forced New York to change its gun
           licensing laws. 78 F.4th at 572. The case considered whether the
           officers had reasonable suspicion to perform a Teny stop-not
           probable cause to arrest-and makes no reference to Bruen. Id.




                                           10
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 11 of 41 PageID #: 420




           at 575-77. It is therefore likewise inapplicable. 7 That the decision
           was published in 2023 or that the panel discussed Bruen during
           oral arguments, (see Mot. for Recons. at 9-10), does not make the
           decision controlling on the facts of this case.
                     2.   New York State law on affirmative defenses
           The Government next objects to the court's treatment of New
           York law. According to the Government, "under longstanding
           New York law, having a license is an affirmative defense that
           must be raised by the defendant, not a fact about which a police
           officer must have certainty prior to making an arrest.') (Mot. for
           Recons. at 11.) Because federal courts must defer to state court
           interpretations of state law, the Government argues that the
           court dearly erred when it concluded that licensure was relevant
           to the probable cause inquiry.
           "It is axiomatic ... that when interpreting state statutes federal
           courts defer to state courts' interpretation of their own statutes."
           United States v. Fernandez-Antonia, 278 F.3d 150, 162 (2d Cir.
           2002). When state law is unclear, the "court must carefully re-
           view available resources to predict how the New York Court of
           Appeals would resolve the questions at bar." Travelers Ins. Co. v.
           633 ThirdAssoc:s., 14 F.3d 114, 119 (2d Cir. 1994). "In consider-
           ing state decisional law, [the court] must afford the fullest weight
           to the pronouncements of the New York Court of Appeals." Id.
           (([W]here there is no decision by the state's highest court then
           federal authorities must apply what they find to be the state law
           after giving proper regard to relevant rulings of other courts of
           the State." Lander v. Hartford Life & Annuity Ins. Co., 251 F.3d

           7 In its M&O, the court cited to Hagood to stand for the proposition that
           "[e]ven after Bruen, police officers have reasonable suspicion to justify a
           Terry stop when seeing someone they suspect has a gun." (M&O at 14.)
           The court does not change its assessment though it notes that Hagood,
           based on a pre-Bruen arrest, cannot stand as contrnlling authority for that
           proposition.




                                               11
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 12 of 41 PageID #: 421




           101, 119 (2d Cir. 2001). When determining how to rule on an
           unsettled issue of state law, "a federal court is free to consider all
           of the resources to which the highest court of the state could look,
           including decisions in other jurisdictions on the same or analo-
           gous issues." Leon's Bakery, Inc. v. Grinnell Corp., 990 F.2d 44, 48
           (2d Cir. 1993); see also Travelers Ins. Co., 14 F.3d at 119 ("We
           will also consider relevant cases from jurisdictions other than
           New York in an effort to predict what would be the decision of
           reasonable intelligent lawyers, sitting as judges of the highest
           New York court, and fully conversant with New York '.jurispru-
           dence."').
           The court's Order followed Second Circuit guidance on how to
           interpret state law when state law is unclear. To predict whether
           the New York Court of Appeals would treat gun licenses under
           the new licensing regime as an affirmative defense, the court an-
           alyzed three Court of Appeals opinions. (See M&O at 7-9 & n.4
           (discussing Peoplev. Kohut, 30 N.Y.2d 183, 187 (N.Y. 1972), Peo-
           ple v. Davis, 13 N.Y.3d 17, 20-21 (N.Y. 2009), and People v.
           Santana, 7 N.Y.3d 234, 236 (N.Y. 2006)).) Based on this assess-
           ment, it determined that, contrary to the Government's assertion,
           the Court of Appeals does not strictly follow the rule that exemp-
           tions from prosecution within the defining statute are elements
           and those without are affirmative defenses. Instead, the Court of
           Appeals determines whether an exception is an element or a de-
           fense based on the tools of statutory interpretation.
           In its briefing, the Government relied on an intermediate appel-
           late court's decision, People v. Washington, 209 A.D.2d 162, 163
           (N.Y. App. Div. 1994), to argue that licensure was an affirmative
           defense under New York law. (See Gov. Post-hearing Opp. at 10.)
           Because the licensing exemption was found outside of the defin-
           ing statute for the crime, the court in Washington held that the
           burden was on the defendant to raise the existence of a license
           as a defense to prosecution. Washington, 209 A.D.2d at 163.




                                            12
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 13 of 41 PageID #: 422




           Therefore, according to the Government, Washington showed
           that any change to the licensing regime after Bruen "does not af-
           fect the probable cause calculus in this case whatsoever." (See id.)
           The court gave "proper regard" to the intermediate court's hold-
           ing in Washington but declined to follow it, reasoning that
           "[w]hen an exemption from prosecution is sufficiently broad, the
           ... separation of affirmative defenses from the probable cause
           analysis would allow law enforcement to search and seize per-
           sons based on primaty conduct that is legal." (M&O at 10.)
           Implicit in this reasoning was that such an interpretation would
           risk running afoul of the Fourth Amendment in a state with a
           "shall issue" licensing regime. Cf United States v. Black, 707 F.3d
           531,540 (4th Cir. 2013) (holding that allowing an investigatory
           detention for possession of a firearm in a state that allows indi-
           viduals to carry firearms with a license ''would eviscerate Fourth
           Amendment protections for lawfully armed individuals in those
           states."). Though the court did not address whether Bruen re-
           quired licensure to be an element of the relevant firearm crime,
           it considered whether a person with a firearm had a license to be
           relevant for determining whether police had probable cause to
           believe that the person was guilty of a crime. The Government
           has not demonstrated that the court failed to follow Second Cir-
           cuit precedent in its M&O by failing to follow New York law;
           instead, it disagrees with the court's assessment ofNewYork law.
           That is an insufficient basis to argue for reconsideration.
           Moreover, the court's analysis of New York law is consistent with
           the Court of Appeals' recent decision in People v. David, 2023 WL
           8039651, at ''2 (N.Y. Nov. 21, 2023), which addressed how ex-
           emptions relate to affirmative defenses under New York criminal
           statutes. In David, the defendant challenged his conviction for
           criminal possession of a weapon. Id. at *1. In doing so, he raised
           the same issues about which party has the burden of production
           to establish licensure under New York's licensing statute, New




                                           13
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 14 of 41 PageID #: 423




            York Penal Law§ 265.20, that were relevant in this case. See id.
            at *2. The defendant argued that the interpretation of licensure
            as an affirmative defense violated due process because it treated
            presumptively innocent conduct as unlawful and shifted the bur-
            den to the defendant to prove otherwise. Id.
           The Court of Appeals clarified that it determines whether an ex-
           emption is an affirmative defense based on statutory
           interpretation rather than a rigid rule. When an "exemption is
           not found within the text of the relevant Penal Law provision
           criminalizing possession of a weapon, it presumptively operates
           as a proviso that need not be pleaded but may be raised by the
           accused as a bar to prosecution or a defense at trial." Id. The
           Court of Appeals reasoned that the placement of an exemption
           outside of the statute was relevant for understanding how to pre-
           sumptively, based on common sense, read the elements of a
           statute. See id. (See also M&O at 8 n.4 (predicting that the New
           York Court of Appeals would determine whether an exemption
           is an affirmative defense based on the tools of statutory interpre-
           tation).) But this only creates a presumption that can be rebutted.
           The court predicts that the Court of Appeals would construe the
           statute in a way that avoids constitutional questions. See People
           v. Viviani, 36 N.Y.3d 564,579 (N.Y. 2021). In David, after noting
           how it would presumptively read the licensing statute, it ex-
           pressly declined to address the impact of Bruen because the
           defendant had not preserved the arguments:
                   Turning to the impact of Bruen, the Supreme
                   Court's decision effected a substantial change in
                   Second Amendment jurisprudence, ... and [the
                   defendant] raises meaningful questions about
                   New York's statutory scheme in its wake (cf Com-
                   monwealth v. Guardado, 491 Mass. 666, 206
                   N.E.3d 512 (2023) (holding that Massachusetts
                   statute prohibiting public possession of loaded




                                           14
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 15 of 41 PageID #: 424




                   firearms but allowing affirmative licensure de-
                   fense violated due process because lack of license
                   must be essential element of crime under Bruen)).
                   But the "mode of proceedings" exception ... does
                   not provide a basis for reaching [the defendant's]
                   unpreserved arguments. David, 2023 WL
                   8039651, at *3.
           Given the potential issues with construing licensure as an affirm-
           ative defense in a "shall issue" state under the Second, Fourth,
           and Fourteenth Amendments 8 after Bruen, the court predicts that
           the Court of Appeals would follow the Massachusetts Supreme
           Judicial Court's analysis in Guardado and not treat licensure as
           an affirmative defense. In the absence of more clear controlling
           precedent to the contrary, the court finds this to be the best in-
           terpretation of how the Court of Appeals would rule on this issue.
           The court therefore declines to reconsider its interpretation of
           New York law.
                     3.   Second Circuit precedent on innocent explanations
           Next, the Government contends that the court's M&O misapplied
           Second Circuit precedent "holding that innocent explanations for
           conduct generally do not vitiate probable cause." (Mot. for Re-
           cons. at 13.) The Government misreads Second Circuit caselaw
           on probable cause and innocent explanations. In United States v.
           Webb, the Second Circuit held that "in order to ascertain whether
           [the defendant] was properly arrested, we must determine

           8 See Herrington v. United States, 6 A.3d 1237, 1244 (D.C. 2010) (striking
           District of Columbia's licensure affirmative defense for possession of hand-
           gun ammunition in the home as violating the Second Amendment and due
           process after Heller and McDonald); Guardado, 206 N.E.3d at 536-39
           (holding that the Second and Fourteenth Amendments required that licen-
           sure be an element of firearm offenses); Black, 707 F.3d at 540 (holding
           that permitting investigatory detentions based on firearm possession in a
           state that "shall issue" firearm licenses would "eviscerate" Fourth Amend-
           ment protections for lawful gun owners).




                                               15
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 16 of 41 PageID #: 425




           whether [the law enforcement officer] had sufficient evidence to
           cause a reasonable and prudent man to believe [the defendant]
           had [committed a crime]." 623 F.2d 758, 762 (2d Cir. 1980).
           The arrest is not made unconstitutional by the defendant's "prof-
           fered innocent explanations"-innocent explanations cannot
           negate probable cause that already existed. Id.; see al.so United
           States v. Fama, 758 F.2d 834, 838 (2d Cir. 1985).
           Here, the court ruled that Officer Lombardi did not have proba-
           ble cause to arrest Mr. Homer. The court did not rely on Mr.
           Homer's post-arrest statements that "police were planting a gun
           on him." (Mot. for Recons. at 13 n.12.) Therefore, Second Circuit
           cases on innocent explanations are inapplicable.
                   4.   Teny stops
           The Government next challenges the discussion in the court's Or-
           der in which it noted that police had the option to conduct a Teny
           stop. This was dicta, and although the court found it worth not-
           ing, it was "unnecessary to the decision in the case." Dallio v.
           Spitzer, 343 F.3d 553, 566 (2d Cir. 2003) (Katzmann, J., concur-
           ring) (citing definition of dictum in Black's Law Dictionaiy 1100
           (7th ed. 1999)). It is unclear what the Government would like
           the court to reconsider on this point-the court could strike the
           entire discussion and it would not change the outcome. This is
           not a proper argument to raise on a motion for reconsideration.
           See Shrader, 70 F.3d at 25 7 (holding that on a motion for recon-
           sideration, courts must only consider matters "that might
           reasonably be expected to alter the conclusion reached by the
           court.").
           However, it is worth briefly addressing the Government's con-
           cerns. In the M&O, the court stated that New York law permitted
           Terry stops generally when police officers have reasonable suspi-
           cion of criminal activity, and that the police officers could have
           conducted a license check on Mr. Homer. (See M&O at 14 (citing
           N.Y. Crim. Proc. Law§ 140.50).) The Government stressed that




                                          16
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 17 of 41 PageID #: 426




           holding law enforcement to such a standard would be "impracti-
           cable" because "[i]n crowded locations, where officers are
           outnumbered by perpetrators or even citizens gathering to
           watch, it would be unsafe and unworkable to isolate an individ-
           ual for the period of time it would take to investigate and confirm
           whether he or she has a gun license." (Mot. for Recons. at 14.)
           However, because firearms create unique risks for police officers
           in precisely the circumstances that the Government raised, New
           York law places additional requirements on licensees that are car-
           rying firearms:
                  Every licensee while carrying a pistol or revolver
                  shall have on his or her person a license to carry
                  the same.... Upon demand, the license shall be
                  exhibited for inspection to any peace officer, who
                  is acting pursuant to his or her special duties, or
                  police officer. ... Failure of any licensee to so ex-
                  hibit or display his or her license, as the case may
                  be, shall be presumptive evidence that he or she is
                  not duly licensed. N.Y. Penal Law§ 400.00(8).
           Section 400.00(8) allows police officers to quickly determine li-
           censure, even short of a license check. The court is not persuaded
           that its discussion of Terry stops was erroneous.
                    5.   Plain View Doctrine
           The Government argues that the court's M&O "is contrary to Sec-
           ond Circuit authority on the plain view doctrine." (Mot. for
           Recons. at 9.) Interestingly, despite this assertion, the Govern-
           ment does not discuss what the court said about the plain view
           doctrine or cite to any Second Circuit authority that would re-
           quire a different outcome. The court's only discussion of the plain
           view doctrine occurred in a footnote addressing what evidence
           was to be suppressed: (<Detective Conte saw Mr. Homer's posses-
           sion of a firearm in plain view of the ARGUS camera. Therefore,
           it is possible that the evidence that is the fruit of the unlawful




                                           17
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 18 of 41 PageID #: 427




           search is not the physical evidence, but Mr. Homer's identity, in-
           cluding his status as a felon." (M&O at 3-4 n.3.) Upon
           reconsideration, this statement was insufficiently precise to pro-
           vide the parties with clear guidance about what evidence was
           subject to suppression. Based on controlling precedent from the
           Supreme Court and Second Circuit, the plain view exception to
           the Fourth Amendment's warrant requirement does not apply.
           "When an officer, during a justified intrusion, encounters incrim-
           inating evidence, the [plain view] doctrine serves to supplement
           the prior justification." United States v. Babilonia, 854 F.3d 163,
           180 (2d Cir. 2017). "[P]lain view alone is never enough to justify
           the warrantless seizure of evidence." Coolidge v. New Hampshire,
           403 U.S. 443, 468 (1971) (plurality opinion); Horton v. Califor-
           nia, 496 U.S. 128, 136 (1990). "[I]f police are lawfully in a
           position from which they view an object, if its incriminating char-
           acter is immediately apparent, and if the officers have a lawful
           right of access to the object, they may seize it without a warrant."
           Minnesota v. Dickerson, 508 U.S. 366, 375 (1993). However, if
           "the police lack probable cause to believe that an object in plain
           view is contraband without conducting some further search of
           the object," then the "incriminating character" of the evidence is
           not "immediately apparent," and the plain view doctrine does not
           apply. Id. Seizure of physical evidence under the plain view doc-
           trine requires probable cause. See Arizona v. Hicks, 480 U.S. 321,
           326 (1987).
           In Mr. Homer's case, the object seen in plain view is the same one
           that the Government argued provided probable cause to arrest.
           There was no separate justified intrusion. Cf Santos v. Zabbara,
           984 F. Supp. 2d 106, 124 (E.D.N.Y. 2013) (arrest for possession
           of fighting roosters was reasonable under the plain view doctrine
           even though the original warrant to search premises was for
           drugs). Detective Conte saw the firearm in plain view, but the




                                           18
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 19 of 41 PageID #: 428




            incriminating character of the firearm was not immediately ap-
            parent for the same reason that the court ruled that Mr. Homer's
            arrest was unlawful. The lack of information about Mr. Homer's
            licensure doomed both. For these reasons, the court clarifies that
            the plain view doctrine does not justify the warrantless seizure of
            the firearm.
                      6.   Identity suppression
            Finally, the Government argues that the court erred in suppress-
            ing evidence of Mr. Homer's identity and his status as a felon
            because Mr. Homer did not request this relief and it is unclear
            what suppression of identity evidence means in this context.
            (Mot. for Recons. at 17 .) The court disagrees that Mr. Homer's
            suppression motion was not broad enough to encompass iden-
            tity, but it agrees that its discussion of identity in the M&O was
            unclear (and ultimately unnecessary). The court therefore grants
            the Government's motion to reconsider the reference to identity
            suppression.
                      a.   The text of Mr. Homer's suppression motion was
                           broad
            In the notice of his motion to suppress, Mr. Homer sought to sup-
            press "all physical evidence recovered from Mr. Homer on
            February 14, 2023, including a .45 mm Glock semiautomatic pis-
            tol and ammunition and all evidence recovered as a fruit of his
            unlawful arrest." (Mot. to Suppress at 1.) 9 The pistol and ammu-
            nition are listed as examples of physical evidence, and "all




            9 For clarity, the court notes that Mr. Homer's notice of his motion to sup-

           press was filed in a combined document with his memorandum of law in
           support of the motion. Therefore, the first page of Mr. Homer's motion is
           the "Notice of Motion to Suppress," (see Mot. to Suppress at 1), and the
           pages following that Notice, (id. at 2-11), comprise his Memorandum of
           Law.




                                                19
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 20 of 41 PageID #: 429




            evidence recovered as a fruit" could therefore be read as a third
            example of physical evidence.
            But that reading is inconsistent with the broad language that Mr.
            Homer used. "Fruit" is a term of art that refers to tangible and
            intangible evidence alike. See United States v. Crews, 445 U.S.
            463, 470 (1980). When listing examples of "all physical evi-
            dence," it would be superfluous to list two specific examples of
            physical evidence and then one catch-all for all other potential
            examples of physical evidence. The phrase "all physical evidence"
            already does that work. Instead, the court read Mr. Homer's mo-
            tion as seeking suppression of physical evidence, including the
            firearm and ammunition, and all evidence recovered as a fruit of
            his arrest, including his identity. This reading is further supported
            by Mr. Homer's later request for suppression of "all fruits ob-
            tained," with no qualification. However, while the language was
            broad enough to cover intangible evidence, the court cited to a
            line of cases that discussed identity suppression in the context of
            the court's jurisdiction. (See M&O at 3-4 n.3.) Because the legal
            issues in these cases are inapplicable to the facts of Mr. Homer's
            case, the court reconsiders its decision to specifically identify
            identity as one of the fruits of the unlawful search because it is
            not necessary on this motion to define the boundaries of the
            "fruit" of Mr. Homer's arrest.
                     b.   Olivares-Rangel and Second Circuit Precedent
           In its Order, the court noted that Mr. Homer's "identity, including
           his status as a felon," was the fruit of the unlawful seizure. (M&O
           at 3-4 n.3.) To support this proposition, the court relied in part
           on the Tenth Circuit's decision in United States v. Olivares-Rangel,
           458 F.3d 1104 (10th Cir. 2006). Upon further review of Olivares-
           Rangel and Second Circuit caselaw, the court erred when it ap-
           plied cases concerning immigration proceedings to the facts of
           this case.




                                            20
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 21 of 41 PageID #: 430




            The court's citation 10 to Olivares-Rangel complicated an other-
            wise straightf01ward issue: under the Supreme Court's holding
            in Crews, the exclusionary rule applies to "any fruits," including
            any intangible evidence that the Government used to learn Mr.
            Homer's name and link that name to a felony conviction. Crews,
            445 U.S. at 470. In Mr. Homer's case, this intangible evidence
            formed the basis for the criminal complaint. (See Compl. (0kt. 1)
            '[ 5.)

           The Government relies on the Second Circuit's summary order in
           Reyes-Basurto v. Holder to argue that the court committed clear
           error as it relates to the suppression of Mr. Homer's identity. (See
           Mot for Recons. at 18 (citing Reyes-Basurto v. Holder, 477 Fed.
           App'x. 788 (2d Cir. 2012) (Summary Order)).) 11 According to
           the Government's interpretation of Olivares-Rangel and Reyes-
           Basurto, when the police identify a defendant using routine po-
           lice processing methods, such as fingerprinting, and there are
           pre-existing records independent of the arrest (in this case, Mr.
           Homer's prior convictions), identity is not suppressible. (See id.)



            10 In Olivares-Rangel, a criminal case, the Tenth Circuit held that the Su-
            preme Court's decision in J.N.S. v. Lopez-Mendoza "does not prevent the
            suppression of all identity-related evidence. Rather, Lopez-Mendoza merely
            reiterates the long-standing rule that a defendant may not challenge a
            court's jurisdiction over him or her based on an illegal arrest." Olivares-
            Rangel, 458 F.3d at 1106 (10th Cir. 2006) (citing INS. v. Lopez-Mendoza,
            468 U.S. 1032 (1984)).
           11 Though not relevant for the decision on the present motion, it is w01th
           noting that Reyes-Basurto v. Holder does not seive as controlling autho1ity
           that would warrant reconsideration. Pretzantzin v. Holder, a precedential
           Second Circuit opinion, cites favorably to the Tenth Circuit's decision in
           Olivares-Rangel, see, 736 F.3d 641, 646-50 (2013), and declines to follow
           Reyes-Basurto, "a non-precedential summary order." See id. at 651-52 (sup-
           pressing alienage-related evidence in a civil deportation proceeding
           because the government failed to demonstrate that it obtained the evi-
           dence independently of any constitutional violation).




                                               21
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 22 of 41 PageID #: 431




           Reyes-Basurto is not controlling in this case for two reasons. First,
           the case involves the Second Circuit's review of civil deportation
           proceedings, and "[o]utside of the criminal context, ... the ap-
           plicability of the exclusionary rule becomes less certain."
           Pretzantzin v. Holder, 736 F.3d 641,646 (2d Cir. 2013). The out-
           come of Reyes-Basurto therefore was the result of an exclusionary
           rule that did not operate as broadly as it does in the criminal
           context. Second, in the immigration setting, identity evidence is
           relevant in a way not relevant here-once a noncitizen is identi-
           fied as not legally in the country, he or she faces civil or criminal
           sanctions based on his or her immigration status. The suppres-
           sion of identity is therefore complicated in the immigration
           setting because it intersects with questions about the court's ju-
           risdiction and the practical necessity of a court to identify the
           party before it. 12
           Mr. Homer's case is distinct. Mr. Homer did not face criminal
           sanctions independent of the circumstances of his arrest. Though
           there is "pre-existing evidence" of Mr. Homer's criminal history,
           that alone is not the basis for Mr. Homer's criminal sanctions in
           this case. Mr. Homer's identity was used to establish one of the
           elements of the crime for felon in possession of a firearrn-
           namely, that he was a felon. His identity was not linked to pre-


           12 If a noncitizen is removable, then the government has this information

           independent of any arrest. The "pre-existing evidence" that the Reyes-
           Basurto court cites to is the petitioner's alienage-even if there were a
           Fourth Amendment violation, once the petitioner was identified, the court
           reasoned, his identity could not be suppressed because he was already "a
           'suspect' in regards to removability even before his arrest." Reyes-Basurto,
           477 F. App'x at 789. Even if the initial search was unlawful, the govern-
           ment in civil deportation proceedings was not required to ignore already
           existing evidence that the petitioner was deportable. Similarly, in Olivares-
           Rangel, the criminal defendant was charged with a violation of 8 U.S.C. §
           1326, which criminalizes presence in the United States after previously be-
           ing deported. See Olivares-Rangel, 458 F.3d at 1105 (citing 8 U.S.C. §
           1326).




                                               22
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 23 of 41 PageID #: 432




            existing records that indicated that his status was illegal, as was
            the case in Reyes-Basurto and Olivares-Rangel. 13 Thus, under
            Crews, it would have been more proper for the court to have
            simply stated the fruits of Mr. Homer's arrest were suppressed,
            with an understanding that "fruits" encompasses intangible evi-
            dence and records of Mr. Homer's status as a felon that were
            obtained as a result of Mr. Homer's arrest and his identification.
            For the reasons discussed here and in the above analysis of the
            plain view doctrine, see supra III.B.5, footnote 3 of the M&O is
            more confusing than illuminating. The court therefore modifies
            the Order and STRIKES footnote 3.
                 C. Factual Arguments
            The Government's next set of arguments concerns the court's
            consideration of "pertinent facts" that formed the basis for its
            M&O. (Mot. for Recons. at 5-8, 14.) The Government asserts that
            the court "considered certain facts but did not give them their
            appropriate weight." (Id. at 14.) 14 As previously discussed with
            respect to affirmative defenses, disagreements with the court's
            analysis or legal determinations are not a valid bases for recon-
            sideration, and the court does not specifically address the
            weighting of those facts here. See E.E.O.C. v. Bloomberg L.P., 751



            13 A more apt analogy of the facts presented in Reyes-Basurto and Olivares-

           Rangel to these c1irninal proceedings would be if identity evidence from an
           unlawful arrest were used to determine that a defendant had an outstand-
           ing arrest warrant. In that hypothetical, there would be pre-existing
           records in the Government's possession independent of the unlawful arrest
           itself; the routine police processing of the defendant would simply identify
           the defendant as facing an unrelated warrant. But that is not the case here.
           14 The Government challenges the weight given to the following facts that
           the court addressed in its M&O: "(l) the defendant was in the driver's seat
           of the minivan; (2) the minivan was associated with a local gang; (3) the
           defendant had no firearm discipline; (4) the defendant was in a high crime
           area; and (5) it was past 2:00 a.m." (Id.)




                                               23
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 24 of 41 PageID #: 433




            F. Supp. 2d 628, 651 (S.D.N.Y. 2010). The Government then ar-
            gues that the court did not consider licensing data that
            demonstrates "minimal change in lawful guns since Bruen."
            (Mot. for Recons. at 6.) Finally, the Government points to five
            facts that it presented at the evidentiary hearing that it argues
            the court overlooked.
            The court first addresses the Government's newly presented li-
            censing data. Then it addresses the Government's argument that
            the police had probable cause based on Mr. Homer's statements
            during the arrest. Finally, it considers whether the other points
            raised by the Government, when considered in the totality of the
            circumstances, are sufficient to show that the court committed
            clear error when it found that the Government did not have prob-
            able cause to arrest Mr. Homer.
                    1. Licensing Data
           To support its motion for reconsideration, the Government sub-
           mits an affidavit showing that the number of concealed carry
           licenses did not meaningfully increase between June 23, 2022,
           when Bmen was decided, and February 14, 2023, the date of Mr.
           Homer's arrest. (See Affidavit of NYPD Sergeant David Blaize
           ("Blaize Aff.") (Dkt. 60) at ECF 21-23.) The number of new li-
           censes granted between June 2022 and February 2023 was
           insubstantial, increasing from 7,384 to 7,621. (See Blaize Aff. at
           ECF 23.) As a share of the population, the percentage of residents
           that could lawfully carry a firearm in New York City increased
           from 0.111 percent to 0.115 percent. (See Mot. for Recons. at 8.)
           The Government therefore submitted the Blaize Affidavit to pro-
           vide evidence that it believed "might reasonably be expected to
           alter the conclusion reached by the court." (Mot. for Recons. at 8
           (citing Shrader, 70 F.3d 255 at 257).)
           As a preliminary matter, the affidavit is not properly before the
           court on a motion for reconsideration. See EDNY Local Rule 6.3
           ("No affidavits shall be filed by any party unless directed by the




                                           24
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 25 of 41 PageID #: 434




            Court."); Davidson, 172 F. Supp. 2d 458, 463-64 ("Because the
            motion for reconsideration does not afford the losing party the
            right to submit new evidence to bolster relief, parties are not to
            submit affidavits in support of a Local Rule 6.3 motion for recon-
            sideration unless directed by the court.n). The contents of the
            Blaize Affidavit-data on the number of concealed carry licenses
            issued as of February 14, 2023-was available and could have
            been presented at the evidentiary hearing that took place on Oc-
            tober 26, 2023.
            But even if the Blaize Affidavit were properly before the court, it
            is insufficient to establish a "need to correct a clear error or pre-
            vent manifest injustice/' as is required to warrant
            reconsideration. Virgin Atl. Airways, 956 F.2d at 1255. District
            courts in this Circuit have defined manifest injustice as "an error
            committed by the trial court that is direct, obvious, and observa-
            ble." Corpac, 10 F. Supp. 3d at 354. The Blaize Affidavit does not
            satisfy this high burden.
           Had the Government timely presented the affidavit, the court
           may have considered the data in its statement that "the practical
           effect of the amendment to [N.Y. Penal Law] § 400.00 (2) (f) is to
           make gun licenses for public carry significantly more accessible"
           to emphasize that licenses are legally more accessible, if not prac-
           tically. (M&O at 10.) But that sentence was not the basis for this
           court's decision. Nor could it have been. The Order based its de-
           cision on the fact that the New York legislature amended its
           firearm licensing statute to require licensing officers to issue a
           concealed carry license to "any person," as opposed to requiring
           applicants to document specific threats to personal safety under
           the prior firearm licensing regime. (See id. at 7-10.) And the court
           relied on Bruen's holding that the Second Amendment presump-
           tively guarantees a right to bear arms in public for self-defense.
           (Id. at 10.)




                                            25
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 26 of 41 PageID #: 435




           Indeed, the Supreme Court has explicitly rejected the approach
           that the Government puts forth in its motion for reconsideration,
           and there are good reasons for this. In Maryland v. Pringle, the
           Supreme Court held that the probable cause inquiry is "incapable
           of precise definition or quantification into percentages." 540 U.S.
           366, 371 (2003). If the court were to change its decision based
           on the Blaize Affidavit and disregard the text of New York's re-
           vised licensing statute and the Supreme Court's interpretation of
           the Second Amendment, it would be reducing the probable cause
           determination to the exact formulaic definition that is not per-
           mitted. The Government would have the look instead to
           population percentages rather than the breadth of New York's
           firearm licensing laws post-Bruen to determine whether enough
           New Yorkers have licenses such that the sight of a gun meets
           some definable percentage that no longer allows warrantless ar-
           rest. Though useful context, the Blaize Affidavit is insufficient to
           alter the court's conclusion.
           Further cautioning against reconsidering the court's decision
           based on the Blaize Affidavit is the fact that there is no evidence
           that these data were within the officer's knowledge when arrest-
           ing Mr. Homer. See United States v. Ginsberg, 758 F.2d 823, 828
           (2d Cir. 1985) ("Probable cause for arrest exists where the facts
           and circumstances within the officers' knowledge and of which
           they had reasonably trustworthy information are sufficient in
           themselves to warrant a man of reasonable caution in the belief
           that an offense has been or is being committed.") (emphasis
           added). To be sure, even if Detective Conte or Officer Lombardi
           did not know the exact number of licenses, the Blaize Affidavit
           could serve as a proxy for their experience and expertise as law
           enforcement officers that any firearm they observe, particularly




                                           26
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 27 of 41 PageID #: 436




           late at night in South Queens, is likely to be unlawful. 15 But cf
           Blade, 707 F.3d at 540 (holding that the fact that an officer had
           never seen anyone in a particular area openly carry a weapon in
           an open carry state did not give rise to reasonable suspicion be-
           cause the law's application did not vary by area).
           But the probable cause inquiry does not solely look to officers'
           experience about what conduct is criminal-courts must view
           the facts as the officers knew them in light of the specific crime.
           See Gonzalez v. City of Schenectady, 728 F.3d 149, 155 (2d Cir.
           2013). In New York, a handgun license "shall be issued to ...
           have and carry concealed, without regard to employment or place
           of possession subject to the restrictions of state and federal law,
           by any person." N.Y. Penal Law§ 400.00(2)(0 (emphasis added).
           The Second Amendment only allows state governments to con-
           dition licensure on objective criteria. See Bruen, 597 U.S. at 11.
           "Individuals holding a firearm license are exempt from most (but
           not all) of New York's criminal prohibitions on firearm posses-
           sion." Antonyuk v. Chiumento, 89 F.4th 271,305 (2d Cir. 2023);
           see also N.Y. Penal Law§ 265.20(a) (exempting criminal posses-
           sion of a weapon under§§ 265.01, 265.01-b, 265.02, and 265.03
           from prosecution). The Second Amendment, as interpreted in
           Bruen, presumptively guarantees the right to bear arms in public.
           Bruen, 597 U.S. at 33.
           Thus, the analysis does not contemplate the precise quantifica-
           tion of whether Mr. Homer had a license, see Pringle, 540 U.S. at
           3 71, but rather whether there was a "specific and articulable fact"
           known to the officers about Mr. Homer that would make it un-
           likely that he was licensed to carry a firearm. United States v.
           Delossantos, 536 F.3d 155, 161 (2d Cir. 2008). In light of the
           broad statutory language concerning eligibility for concealed-

           15 As noted above, the Government could have brought a witness to testify
           about exactly this at the evidentiary hearing but did not do so. (See Gov't
           Post-hearing Opp. at 9.)




                                              27
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 28 of 41 PageID #: 437




            carry licenses, the Blaize Affidavit, had it been timely presented
            to the court, would not have changed the outcome.
                     2.   Homer shouted that the gun was planted after his
                          arrest
            The Government asserts that probable cause existed because Mr.
            Homer, "seconds after the recovery of the gun and prior to his
            arrest, immediately began shouting that the police planted a gun
            on him." (Mot. for Recons. at 15.) In its M&O, the court did not
            address the timing of Mr. Homer's statements, noting only that
            "[a] t 2:25 a.m., NYPD officers pulled up to the silver minivan that
            Detective Conte observed and then immediately arrested and dis-
            armed Mr. Homer." (M&O at 2.) The court characterized both
            the arrest and disarming of Mr. Homer as happening simultane-
            ously. Based on the court's finding, any statements made after
            the recovery of the gun were also made after his arrest. Post-ar-
            rest statements cannot be the basis for probable cause. See Kansas
            v. Glover, 140 S. Ct. 1183, 1191 (2020) ("Like all seizures, the
            officer's action must be justified at its inception."). The Govern-
            ment does not contend here that the comt committed clear error
            or misapplied Second Circuit law in its determination that the
            recove1y of the gun occurred after the arrest, and so the Govern-
            ment's argument is not properly raised on this motion for
            reconsideration.
            For the sake of clarity, the timeline of Mr. Homer's arrest, as rel-
            evant for the timing of his statements, is as follows. 16 At 2:25:45
            a.m., the car in which Officer Lombardi is riding arrived at Mr.
            Homer's van and Officer Lombardi exited the vehicle. At 2:25:50
            a.m., Officer Lombardi approached the driver's door of Mr.

            16 The following timeline is taken from Officer Lombardi's body worn cam-
           era (Gov't Opp. to Mot. to Suppress, Ex. C) and the ARGUS camera
           footage. (Gov't Opp. to Mot. to Suppress, Ex. A ("ARGUS Footage").) The
           entire arrest occurred in under a minute, so the court timestamps to the
           second.




                                               28
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 29 of 41 PageID #: 438




           Homer's vehicle, where Mr. Homer was seated, and said "Yo,
           show me your hands." Another officer approached the passenger
           door with his weapon drawn. At 2:25:52 a.m., Officer Lombardi
           opened the door and ordered Mr. Homer to "step out" three
           times. From 2:25:54 to 2:26:00 a.m., Officer Lombardi and two
           other officers pulled Mr. Homer out of the car and put him on his
           back. At 2:26:01 a.m., Officer Lombardi recove~ed the firearm
           and Mr. Homer said, "He's going to shoot me." At 2:26:04 a.m.,
           one of the arresting officers ordered Mr. Homer to "roll over, roll
           over," and two officers proceeded to handcuff Mr. Homer from
           approximately 2:26:06 a.m. to 2:26:24 a.m. At 2:26: 11 a.m.,
           while the police were placing him in handcuffs, Mr. Homer
           shouted something indiscernible and then, "He's planting a gun
           on me."
           A person is under arrest when, "in view of all the circumstances
           surrounding the incident, a reasonable person would have be-
           lieved that he was not free to leave." Posr v. Doherty, 944 F.2d
           91, 97 (2d Cir. 1991). To determine whether a suspect is under
           arrest, the Second Circuit looks to the need for the use of force,
           including whether the suspect is armed, the extent to which the
           suspect's freedom of movement is restrained, including use of
           handcuffs, and the number of agents involved, including the ex-
           tent to which the suspect is outnumbered and surrounded. See
           United States v. Tehrani, 49 F.3d 54, 61 (2d Cir. 1995); Oliveira
           v. Mayer, 23 F.3d 642, 646 (2d Cir. 1994) (collecting cases). 17 As

           17 Many cases discussing the definition of an arrest do so in the context of
           determining when a Terry stop has ripened into an arrest. See, e.g., United
           States v. Newton, 369 F.3d 659, 674-75 (2d Cir. 2004). The Government
           here does not argue that this arrest was initiated as a Terry stop. In fact, as
           noted above, it challenged as impracticable the court's dicta that police had
           the option to conduct a Teny stop. But see Grice v. McVeigh, 873 F.3d 162,
           167 (2d Cir. 2017) ("[A] police officer, faced with the possibility of danger
           [during a Terry stop], has a right to take reasonable steps to protect himself
           and an obligation to ensure the safety of innocent bystanders, regardless




                                                29
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 30 of 41 PageID #: 439




           of2:26:00 a.m., when Mr. Homer was on the ground on his back
           with his hands above his head surrounded by three police offic-
           ers, a reasonable person would believe that he was under arrest
           and not free to leave. Six seconds later, when Mr. Homer was
           disarmed and police were putting him in handcuffs, he was cer-
           tainly under arrest. See United States v. Fiseku, 915 F.3d 863, 871
           (2d Cir. 2018) ("We generally view handcuff use as a hallmark
           of a formal arrest."). Mr. Homer was under arrest before he made
           the statement that the Government argues established probable
           cause. The court therefore does not reconsider its finding that
           Mr. Homer was arrested prior to Officer Lombardi's recovery of
           the firearm and to any of Mr. Homer's statements made immedi-
           ately after.
                     3.   Overlooked Facts
           Finally, the Government argues that the court overlooked key
           facts when it granted Mr. Homer's suppression motion: (1) De-
           tective Conte served on a long-term investigation of a gang in the
           area, (Mot. for Recons. at 16); (2) Mr. Homer grabbed a loose
           firearm when there were two other passengers in the car, (id. at
           14); (3) Mr. Homer only reached for the firearm and left his ve-
           hicle when another vehicle arrived, (id. at 15); and (4) Mr.
           Homer's conduct is inconsistent with the training the gun licens-
           ing statute requires for a person to lawfully acquire a firearm. (Id.
           at 16.)
           In granting Mr. Homer's motion to suppress, the court concluded
           that the Government had not established that the facts leading
           up to Mr. Homer's arrest created probable cause to believe that
           Mr. Homer unlawfully possessed the firearm, and so his arrest
           was unreasonable, in violation of the Fourth Amendment. In re-
           viewing the motion, the court necessarily addressed the extent to


           of whether probable cause to arrest exists.") (quoting United States v. Alex-
           ander, 907 F.2d 269, 272 (2d Cir. 1990)).




                                                30
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 31 of 41 PageID #: 440




           which Bruen's expansion of the conduct that is protected under
           the Second Amendment affected when a search and seizure un-
           der the Fourth Amendment is reasonable. (See M&O at 9-10.) 18
           In coming to its conclusion, the court considered the totality of
           the circumstances of the arrest, including facts the Government
           asserts were overlooked. The court considered, for instance, that
           on the night of Mr. Homer's arrest, Detective Conte was using an
           ARGUS camera19 to surveil Guy R. Brewer Boulevard between
           134th Street and 13 7th Street, which was known as a high crime
           area. (See M&O at 1-2, 11-12.) The court reasoned that a high
           crime area is relevant because it provides context that allows po-
           lice to infer criminality from otherwise benign conduct. But
           because of the broad language of New York's amended licensing
           statute N.Y. Penal Law§ 400.00(2)(:t) and the Supreme Court's
           reasoning in Bruen that the Second Amendment protects the
           right to carry a firearm in self-defense, including Justice Alito's
           concurrence that law-abiding citizens are most likely to need to
           defend themselves in high crime areas, the court did not place
           significant weight on the time (at night) and location (high crime
           area) of the arrest.


           18 It is important here to again note the breadth of Bruen and the Court's

           other Second Amendment jurisprndence. Bruen held that the Second
           Amendment presumptively protects a right to bear arms in public for self-
           defense. See Bruen, 597 U.S. at 33. "The right to 'bear arms' refers to the
           right to 'wear, bear, or cany upon the person or in the clothing or in a
           pocket, for the purpose of being armed and ready ... in a case of conflict
           with another person." Id. at 32 (quoting District of Columbia v. Heller, 554
           U.S. 570, 584 (2008)). And Bruen affirmed that the "constitutional right
           to bear arms in public for self-defense is not a second-class right, subject to
           an entirely different body of rules than the other Bill of Rights guarantees."
           Id. at70 (quotingMcDonaldv. CityofChicago, 561 U.S. 742,780 (2010)).
           19 The court had the benefit when deciding its motion of being able to re-
           view this uninterrupted video feed of the events preceding the arrest as
           well as the arrest itself. (See generally ARGUS Footage.) The feed showed
           what Detective Conte viewed before the arrest was initiated.




                                                 31
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 32 of 41 PageID #: 441




           The court also considered the fact that Detective Conte was sur-
           veilling the specific section of Guy R. Brewer Boulevard as part
           of an investigation into a local gang, (see M&O at 2), and that
           Detective Conte saw Mr. Homer driving a car that Detective
           Conte testified was associated with the gang that he was surveil-
           ling. 20 New York law restricts concealed carry licenses to those
           with "good moral character," defined by statute as uthe essential
           character, temperament and judgement necessary to be en-
           trusted with a weapon and to use it only in a manner that does
           not endanger oneself or others." N.Y. Penal Law§ 400.00(1) (b).
           The court acknowledged Detective Conte's assessment but did
           not find alleged gang membership to be relevant for assessing
           whether a person is licensed to carry a gun because New York's
           "shall issue" licensing regime does not facially preclude persons
           with alleged gang associations from carrying a firearm. (See
           M&O at 13.) This was particularly true because Detective Conte
           did not clearly tie Mr. Homer to the gang he was investigating.
           The basis for the Government's inference that Mr. Homer was
           affiliated with the local gang was that Detective Conte had seen
           the silver minivan once before while reviewing ARGUS footage
           and believed it to be gang affiliated. But Detective Conte con-
           ceded that he could not identify the license plate and that he did




           20 The Government argues that court overlooked the fact that Detective

           Conte served on a long-term investigation of the local gang and that this
           investigation was precipitated by a homicide. (See Mot. for Recons. at 16.)
           The court directly considered that Detective Conte was surveilling Guy R.
           Brewer Boulevard as part of an investigation into a gang but did not spe-
           cifically state that it was a long-term investigation because of a murder.
           Rather than arguing that the court overlooked a relevant fact, the Govern-
           ment appears to be arguing that the court did not place enough weight on
           Detective Conte's testimony.




                                               32
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 33 of 41 PageID #: 442




            not recognize any of the minivan's occupants. 21 Such a loose as-
            sociation cannot be the basis for probable cause because the
            Fourth Amendment requires individualized suspicion. See Chan-
            dler v. Miller, 520 U.S. 305, 308 (1997). It is true that applicants
            for a concealed carry license of course must have "good moral
            character," but someone with a loose association to a gang could
            submit character references and take the required training
            courses that are necessary to qualify for a concealed carry permit.
            (See M&O at 13.) The court therefore did not find Mr. Homer's
            purported ties to the local gang to provide strong support for De-
            tective Conte's belief that Mr. Homer lacked a firearm license.
           The Government also argues that the court overlooked evidence
           that Mr. Homer was going to unlawfully use the firearm, and
           therefore that Detective Conte had probable cause to believe that
           Mr. Homer unlawfully possessed the firearm. Even after Bruen,
           the right to bear arms does not extend to using guns for illegal
           conduct. In the probable cause inquiry, the court must give due
           weight to the testimony of law enforcement. As the Second Cir-
           cuit explained,
                   Some patterns of behavior which may seem innoc-
                   uous enough to the untrained eye may not appear
                   so innocent to the trained police officer who has
                   witnessed similar scenarios numerous times be-
                   fore. As long as the elements of the pattern are
                   specific and articulable, the powers of observation
                   of an officer with superior training and experience


           21 While the inference that the driver of the car is its registered owner is
           reasonable, see Kansas v. Glover, 140 S. Ct. 1183, 1189 (2020), drawing a
           further inference of gang affiliation based on the car is less so. See id. at
           1191 (Kagan, J., concurring) ("Families share cars; friends borrow them.").
           In this case, at a subsequent hearing, the defense represented that the car
           that Mr. Homer was driving was registered to a relative of his partner. (See
           generally Nov. 21, 2023 Bond Modification Hearing Transcript.)




                                               33
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 34 of 41 PageID #: 443




                  should not be disregarded. United States v. Delos-
                  santos, 536 F.3d 155, 161 (2d Cir. 2008).
           In his testimony, Detective Conte identified two specific and ar-
           ticulable elements of Mr. Homer's conduct that the Government
           argues were indicative of criminality: Mr. Homer was in the
           driver's seat of a vehicle associated with a gang and he did not
           have firearm discipline, as he put the gun directly in his pocket.
           (See Hearing Tr. at 18:12-13; 28:8-9; 31:16-17.) These were also
           the only facts that the Government raised in its post-hearing
           briefing. (See Gov't Post-hearing Opp. at 11.)
           However, the court has already considered these generalized el-
           ements. For the reasons discussed above and because Detective
           Conte did not more specifically articulate a basis for believing
           that the vehicle was associated with a gang beyond seeing it once
           before on video, the court credited Detective Conte's testimony
           only insofar as it established that Mr. Homer could loosely be as-
           sociated with members of a gang. And the court held that Mr.
           Homer's lade of firearm discipline, though potentially incon-
           sistent with the safety training that is required under New York
           law to receive a concealed carry permit, was not enough to indi-
           cate that Mr. Homer did not have a license. This is particularly
           true because the conduct that Detective Conte stated was evi-
           dence of a lade of firearm discipline-that he "took the gun out
           and put it in his pants pocket"-appears to fall precisely within
           the conduct that is presumptively protected under the Second
           Amendment after Bruen. See Bruen, 597 U.S. at 32 (defining the
           right to bear arms the "right to wear, bear, or carry upon the per-
           son or in the clothing or in a pocket"). On these bases, the court
           ruled that based the facts leading up to Mr. Homer's arrest, the
           arresting officers lacked sufficient probable cause to arrest Mr.
           Homer.
           The Government now argues on reconsideration that additional
           facts support a finding of probable cause: (1) there were other




                                           34
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 35 of 41 PageID #: 444




           passengers in the car when Mr. Homer grabbed a "loose" firearm,
           and (2) Mr. Homer reached for the firearm only when another
           vehicle arrived, indicating an intention to use the weapon unlaw-
           fully. 22 These additional facts, the Government contends, are
           also inconsistent with the licensing statute's requirements for a
           person to lawfully acquire a concealed carry license.
           Even if seemingly innocuous to the average person, the court can-
           not disregard conduct that law enforcement officers identify as
           indicative of criminal activity. See Delossantos, 536 F.3d at 161.
           But in his testimony, Detective Conte did not address either of
           these points. He did not mention the risk of possessing a firearm
           in a car with two other passengers, nor did he identify the firearm
           as "loose." 23 The extent of his testimony on this subject was that
           he "noticed that there was a female in the vehicle also" and that
           Mr. Homer "had no firearm discipline. He took the gun out and
           put it in his pants pocket.)) (Hearing Tr. 31:13-17.) And concern-
           ing the Government's argument that Mr. Homer intended to use
           the firearm unlawfully when he left his vehicle, Detective Conte
           said only that Mr. Homer was ''out of the car and at the deli."
           (Hearing Tr. at 33:2.)
           The court is therefore asked in this motion to reconsider the ex-
           tent to which seemingly innocuous conduct is indicative of
           criminality without the aid of law enforcement testimony that
           states as much. Though courts do not necessarily require specific
           law enforcement testimony about how seemingly innocuous con-
           duct is indicative of criminality, see United States v. Steppello, 664


           22 The Government also argued that the court overlooked the fact that De-

           tective Conte was on a long-term investigation of a gang in the area as a
           result of a homicide. (Mot. for Recons. at 16.) Because the court considered
           that Detective Conte was investigating a local gang, it does not re-address
           the Government's argument on reconsideration. See Corpac, 10 F. Supp. 3d
           at 351; see also supra note 20.
           23 Nor did the Government address these facts in its post-hearing briefing.




                                               35
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 36 of 41 PageID #: 445




           F.3d 359, 364 n. 6 (2d Cir. 2011) (not requiring specific agent
           testimony to interpret a phone call to set up a drug deal when
           the "use of code language . . . is chronicled regularly in our
           cases"), it is certainly helpful. Cf Delossantos, 536 F. 3d at 160-61
           (relying on agents' testimony that, based on their experience, a
           bystander to a drug deal is normally involved in the drug deal
           and is not likely to be an "innocent dupe"). The court therefore
           considers whether either of these additional facts, viewed indi-
           vidually and in connection with the totality of facts before the
           court, demonstrate probable cause.
                    a.    Loose Firearm with Other Passengers
           The Government argues that the court overlooked the fact that
           "the minivan had two additional passengers when the defendant
           grabbed a loose semi-automatic firearm and shoved it in his
           pocket." (Mot. for Recons. at 14.) This conduct created probable
           cause to believe that Mr. Homer was not licensed, contends the
           Government, because someone with good moral character who
           has received safety training about firearm storage would not han-
           dle a firearm in a way that could endanger the other passengers.
           The Government does not argue that probable cause existed
           based on violation of a firearm storage statute or for criminally
           endangering the other passengers; it only argues that probable
           cause existed because the storage was inconsistent with the li-
           censing requirements.
           In the M&O, the court held that ''while a lack of firearm discipline
           is inconsistent with the training that one would have to undergo
           to acquire a license to carry a fiream1, it is too large a leap to
           conclude that lack of firearm discipline implies that the firearm
           is unlicensed." (M&O at 13.) The court's assessment of Mr.
           Homer's lack of firearm discipline was based on Detective Conte's
           testimony during the evidentiary hearing when he was narrating
           the ARGUS footage for the court:




                                           36
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 37 of 41 PageID #: 446




                  Q: And what, if anything, did you note about the
                  manner in which the gun was being safeguarded,
                  if at all?
                  A: He had no firearm discipline. He took the gun
                  out and put it in his pants pocket. (Hearing Tr. at
                  31:14-17; see also ARGUS Footage at 21:50.)
           Detective Conte did not state from where Mr. Homer retrieved
           the firearm, and it is not clear from the video. Mr. Homer contests
           the argument that the firearm was loose, reasoning that Detec-
           tive Conte's language-"took the gun out"-implies that it was
           in something and not loose. (Opp. to Mot. for Recons. ("Opp.")
           at 7.) Regardless of whether the gun was "loose," it was not se-
           curely on Mr. Homer's person at all times. The Government now
           argues that this shows that Mr. Homer did not have "good moral
           character" and therefore could not have acquired a firearm li-
           cense. (Mot. for Recons. at 15-16.)
           To assess moral character, applicants for a concealed cany li-
           cense are now required to submit four character references,
           contact information for cohabitants, and their personal social me-
           dia pages. SeeAntonyuk v. Chiumento, 89 F.4th 271,290 (2d Cir.
           2023) (citing N.Y. Penal Law § 400.00(1) (o)). Similar to Mr.
           Homer's placement of a firearm directly in his pocket, his conduct
           here was inconsistent with the safety training that a licensee
           would have been required to take. The fact that Mr. Homer did
           not have the firearm on his person with other inhabitants in the
           car poses a greater safety risk than putting a gun directly in one's
           pocket. But such conduct, in a state that "shall" issue a firearm
           license to "any person," N.Y. Penal Law § 400.00(2)(£), is not
           enough to infer that the firearm is unlicensed.
                    b.   Conduct at Deli
           The Government argues that the facts support a finding of prob-
           able cause because Mr. Homer "armed himself in that moment




                                           37
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 38 of 41 PageID #: 447




           to use or potentially use the gun on the sidewalk, and therefore
           unlawfully." (Mot. for Recons. at 15.) Viewing the circumstances
           "through the eyes of a reasonable and cautious police officer on
           the scene, guided by his experience and training," United States
           v. $557,933.89, More or Less, in U.S. Funds, 287 F.3d 66, 85 (2d
           Cir. 2002), the court is unable to conclude that Mr. Homer
           "armed himself in that moment to use or potentially use the gun
           on the sidewalk, and therefore unlawfully." (Mot. for Recons. at
           15.) The court looks "at the facts as the officers knew them in
           light of the specific elements of each crime." Gonzalez v. City of
           Schenectady, 728 F.3d 149, 155 (2d Cir. 2013). "[N]o probable
           cause exists to arrest where a suspect's actions are too ambiguous
           to raise more than a generalized suspicion of involvement in
           criminal activity." United States v. Valentine, 539 F.3d 88, 94 (2d
           Cir. 2008).
           The facts that the Government claims the court overlooked are
           as follows: Mr. Homer was in the driver's seat of the silver
           minivan when a car pulled up and stopped, double parldng in
           front of his car. (ARGUS Footage at 21:44.) At that point, Mr.
           Homer turned around and put a firearm in his pocket and, with
           an occupant of the double-parked car, went to the deli window.
           (Id. at 22:25-22:34.) They both stood there while Mr. Homer ap-
           peared to be spealdng and gesturing to someone off camera, at
           least a store front away. (Id. at 22:35-50.) Mr. Homer's acquaint-
           ance went back to his car to get a coat, and Mr. Homer
           temporarily left the deli window and walked halfway towards his
           acquaintance's car before returning to the deli window. (Id. at
           22:45-23:04.) Both then stood there a few steps apart for about
           a minute, until a deli employee came to the window. (Id. at
           23:04-23:56.) Mr. Homer grabbed something from the window




                                           38
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 39 of 41 PageID #: 448




           about thirty seconds later. 24 (Id. at 24:33.) He then returned to
           his car and sat there for about a minute before Officer Lombardi's
           police car arrived. (Id. at 24:41-25:45,) 25 Throughout the ap-
           proximately two minutes he was in front of the deli, Mr. Homer
           frequently looked off camera in the same direction that he had
           gestured earlier.
           The Government does not specify what unlawful activity it be-
           lieves Mr. Homer was arming himself to commit while standing
           in front of the deli. Instead, the facts that the Government asserts
           the court overlooked at the very most create "suspicion of some
           generalized misconduct." Gonzalez, 728 F.3d at 155. Mr. Homer
           and his acquaintance are not pacing back and forth or making
           repeated trips in a way that would indicate casing a job. Cf~ e.g.,
           Terry v. Ohio, 392 U.S. 1, 5-6 (1968). Mr. Homer did not bran-
           dish his firearm or otherwise indicate an intent to unlawfully use
           it. Cf Walczyk v. Rio, 496 F.3d 139, 147 n.7 (2d Cir. 2007) (not-
           ing that displaying firearms is a factor for determining whether
           there is fear of imminent physical injury). Mr. Homer's conduct
           in front of the deli did not indicate that criminality was afoot.



           24 The Government claims the court erred because "defendant did not go

           into the deli, and there is certainly no evidence that he ordered anything."
           (Mot. for Recons. at 15 n. 13.) Instead, the Government says Mr. Homer
           "loitered outside the business with a gun while gesturing to someone or
           something down the street." (Id.) Based on a review of the ARGUS video,
           the Government is mistaken. It appears that the Government did not notice
           that the deli had a service window, which allows a person to order some-
           thing without going into the deli. The defense, in their opposition to the
           Government's motion for reconsideration, suggested that Mr. Homer
           grabbed cups. (Opp. at 7.)
           25 Mr. Homer contends that it is likely that Detective Conte did not even

           watch Mr. Homer while he was at the deli because Detective Conte testified
           that he "immediately got out of his seat" to go find someone to arrest him.
           (Opp. at 7-8 n.6.) But the camera followed Mr. Homer throughout and
           zoomed in and out, indicating that Detective Conte was actively viewing.




                                               39
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 40 of 41 PageID #: 449




           The court cannot "divide-and-conquer" what is meant to be an
           inquiry based on the totality of the circumstances. See District of
           Columbia v. Wesby, 583 U.S. 48, 61 (2018). In its Order, the court
           found that law enforcement lacked probable cause to believe that
           a person had an unlicensed firearm when that person was loosely
           affiliated with a gang and was seen at night in a high crime area
           placing a gun directly into his pocket, because New York's licens-
           ing statute requires licensing officers to provide licenses to any
           person that satisfies the statutory requirements. The Government
           contends that ignoring Mr. Homer's conduct in front of the deli,
           including the fact that he armed himself when an acquaintance
           arrived, and that Mr. Homer did not have the firearm on his per-
           son with passengers in the car would change the totality of the
           circumstances analysis. But ultimately the issue is that Mr.
           Homer had a gun. If carrying a concealed gun is presumptively
           protected conduct after Bruen, then sitting in a car with a gun or
           leaving a car with a gun or standing in front of a deli with a gun
           are presumptively protected as well. The totality of the circum-
           stances did not indicate that Officer Lombardi had probable
           cause to arrest Mr. Homer for possession of a firearm without a
           license.
           The issue presented in Mr. Homer's case involved the intersection
           of a newly expanded Second Amendment with the legal protec-
           tions of the Fourth Amendment in a state that had limited public
           gun carriage for over a hundred years. The extent to which police
           can infer a lad< of licensure from the suspect's conduct in a state
           that now has limited discretion in declining to issue concealed
           carry licenses is not settled. While the issue is undoubtedly close,
           the Government has failed to demonstrate that reconsideration
           is warranted.

           IV. CONCLUSION

           For the foregoing reasons, the court STRIKES footnote 3 of the
           M&O. The Government's motion for reconsideration is otherwise




                                           40
Case 1:23-cr-00086-NGG Document 68 Filed 04/09/24 Page 41 of 41 PageID #: 450




              DENIED. The Government's motions for oral argument and an
              evidentiary hearing are DENIED as moot.
     SO ORDERED.


     Dated:     Brooklyn, New York
                April 8, 2024

                                                   s/NICHOLAS G. GARAUFIS
                                                   NICHOIAS G. GARAUFIS
                                                   United States District Judge




                                         41
